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}




                          2 MONKEY TRADING LLC
                          3601 VINELAND RD
                          STE 14
                          ORLANDO, FL 32811


                          AARON FORD
                          OLD SUPREME CT BLDG
                          100 N. CARSON ST
                          CARSON CITY, NV 89701


                          AARON FREY
                          STATE HOUSE STATION 6
                          AUGUSTA, ME 04333


                          ACCESS NATIONAL BANK
                          1800 ROBERT FULTON DRIVE
                          SUITE 310
                          RESTON, VA 20191


                          ACCESS NATIONAL BANK, A DIVISION OF UNIO
                          1800 ROBERT FULTON DRIVE
                          SUITE 310
                          RESTON, VA 20191


                          ACKERMAN MCQUEEN INC
                          1601 NORTHWEST EXRPESSWAY
                          OKLAHOMA CITY, OK 73118


                          Ackerman McQueen, Inc.
                          1601 Northwest Expressway
                          Oklahoma City, OK 73118-1438


                          ACROBAT TACTICAL



                          AFILIAS LIMITED
                          2 LA TOUCHE HOUSE
                          IFSC
                          DUBLIN 1 IRELAND
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                      AG ALMANAC LLC
                      2735 HARTLAND ROAD #101
                      FALLS CHURCH, VA 22043


                      AKER INTERNATIONAL INC
                      ATTN: KEN AKER
                      2248 MAIN ST. #4
                      CHULA VISTA, CA 91911


                      ALAN WILSON
                      REMBERT C. DENNIS OFFICE BLDG
                      PO BOX 11549
                      COLUMBIA, SC 29211


                      ALLEN COMMUNICATION LEARNING S
                      55 WEST 900 SOUTH
                      SALT LAKE CITY, UT 84101


                      ANNIN & CO



                      Ard Law
                      PO BOX 11633
                      BAINBRIDGE ISLAND, WA 98110


                      ARLENE'S SPORTING GOODS
                      ATTN: HARRY MIKOLOWSKI
                      5470 MIDDLE CHANNEL DR
                      HARSENS ISLAND, MI


                      Armitage DeChene & Associates
                      228 CHELTENHAM ROAD
                      NEWARK, DE 19711


                      ARMOR DEFENSE INC.
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                      ARONSON LLC
                      111 ROCKVILLE PIKE
                      SUITE 600
                      ROCKVILLE, MD 20850


                      ASHLEY MOODY
                      THE CAPITOL
                      PL 01
                      TALLAHASSEE, FL 32399


                      ATLANCO LLC
                      ATTN: KURT WENDING
                      1125 HAYES INDUSTRIAL DR
                      MARIETTA, GA 30062


                      ATLANTIC UNION BANK
                      1800 ROBERT FULTON DRIVE
                      SUITE 300
                      RESTON, VA 02019


                      AUSTIN COMMUNITY COLLEGE DISTR



                      AUSTIN KNUDSEN
                      JUSTICE BLDG
                      215 N. SANDERS
                      HELENA, MT 59620


                      AWARD CRAFTERS INC
                      ATTN: JIM MUNDEN
                      8854 RIXLEW LANE
                      MANASSAS, VA 20109


                      B&H FOTO & ELECTRONICS CORP
                      ATTN: MOSHE HILL
                      420 NINTH AVE.
                      NEW YORK, NY 10001


                      BANCORPSOUTH
                      12655 N CENTRAL EXPWY #100
                      DALLAS, TX 75243
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                      BKR INVETMENTS LLC



                      BLACKBAUD INC



                      BOB FERGUSON
                      1125 WASHINGTON ST. SE
                      PO BOX 40100
                      OLYMPIA, WAS 98504-0000


                      BRADLEY ARANT BOULT CUMMINGS, LLP
                      PO BOX 830709
                      BIRMINGHAM, AL 35283


                      BRATCHER, STANLEY W



                      BRIAN FROSH
                      200 ST. PAUL PLACE
                      BALTIMORE, MD 21202


                      BRIDGET HILL
                      STATE CAPITOL BLDG
                      CHEYENNE, WY 82002


                      BRIGLIAHUNDLEY PC
                      1921 GALLOWS ROAD
                      SUITE 750
                      VIENNA, VA 22182


                      BRINKS INCORPORATED
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                      BUCK WEAR INC
                      ATTN: BOB BRYSON
                      2900 COWAN AVENUE
                      BALTIMORE, MD 21223


                      CALMARK GROUP-POSTAGE
                      6755 S SAYRE AVE
                      BEDFORD PARK, IL 60638


                      CAMP DAVID INC
                      7920 FOSTER ST
                      OVERLAND PARK, KS 66204


                      CANTWELL-CLEARY
                      7575 WASHINGTON BLVD
                      ELKRIDGE, MD 21075


                      CASH MANUFACTURING CO INC
                      ATTN: SCOTT POBJOY
                      201 S. KLEIN DR
                      PO BOX 130
                      WAUNAKEE, WI 52597


                      CDW COMPUTER CENTERS INC
                      PO BOX 75723
                      CHICAGO, IL 60675


                      CDW Computer Centers, Inc.
                      P.O. Box 75723
                      Chicago, IL 60675


                      CENTENNIAL PROTECTION GROUP LL
                      2300 YORK ROAD
                      SUITE 206
                      TIMONIUM, MD 21093


                      CENTRAL NATIONAL GOTTESMAN
                      LINDENMEYER MUNROE
                      ATTN: JAY MARTIN
                      7230 PRESTON GATEWAY DRIVE
                      HANOVER, MD 21076
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                      CEQUEL DATA CENTERS LP



                      CHAIN BRIDGE BANK N.A.
                      CHAIN BRIDGE BANK, N.A.
                      1445-A LAUGHLIN AVENUE
                      MCLEAN, VA 22101


                      CHRIS CARR
                      40 CAPITOL SQUARE
                      SW
                      ATLANTA, GA 30334


                      CINTAS CORPORATION
                      9022 EUCLID AVE
                      MANASSAS, VA 20110


                      CITY SECURITY CONSULTANTS INC



                      CLARE CONNORS
                      425 QUEEN STREET
                      HONOLULU, HI 96813


                      COASTLINE LTD



                      COLLEGE OF CHARLESTON



                      COMMERCE BANK
                      1000 WALNUT STREET
                      KANSAS, MO 64106
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                      COMMUNICATIONS CORP OF AMERICA
                      ATTN: JUDY REID
                      13195 FREEDOM WAY
                      BOSTON, VA 22713


                      CONTEMPORARY SERVICES CORP



                      COOK BOTTOM HUNTING CLUB
                      ATTN: ED COLSTON
                      107 JONES CUTOFF
                      ROBELINE, LA 71469


                      COPILEVITZ, LAM & RANEY
                      COPILEVTIZ & CANTER PC
                      310 W 20TH ST
                      SUITE 300
                      KANSAS CITY, MO 64108


                      CORONADO LEATHER CO., INC.
                      ATTN: BRENT LAULOM
                      1961 MAIN ST.
                      SAN DIEGO, CA 92113


                      Corr Cronin Michelson Baumgardner &
                      10001 FOURTH AVENUE
                      SUITE 3900
                      SEATTLE, WA 98154


                      Costello, Valentine, Gentry
                      51 PUTNEY ROAD
                      BATTLEBORO, VT 05301


                      COZORT, JIM



                      CRAIG, KEVIN L
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                      CYBERSOURCE CORPORATION



                      D J NIERNAN INC



                      DANA NESSEL
                      PO BOX 30212
                      525 W. OTTAWA ST.
                      LANSING, MI 48909


                      DANIEL CAMERON
                      700 CAPITOL AVENUE
                      CAPITOL BUILDING
                      SUITE 118
                      FRANKFORT, KY 40601


                      DAVE YOST
                      STATE OFFICE TOWER
                      30 E. BROAD ST
                      COLUMBUS, OH 43266


                      DAVID WRIGHT



                      DAVIDSON'S INC
                      7609 BUSINESS PARK DR
                      GREENSBORO, NC 27409


                      DECISION SOFTWARE INC.



                      DELLA MEDIA LTD
                      15562 NORTH ROYAL DOULTON
                      CLINTON TOWNSHIP, MI 48038
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                      DELUXE FOR BUSINESS
                      C/O US BANK LOCK
                      PO BOX 742572
                      CINCINNATI, OH 45274


                      DEM360 LLC
                      22 N MULBERRY ST
                      STE 102
                      HAGERSTOWN, MD 21740


                      DEREK SCHMIDT
                      120 S.W. 10TH AVE
                      2ND FLOOR
                      TOPEKA, KS 66612


                      DILLY, DREW



                      DINERS CLUB INTERNATIONAL
                      PO BOX 5732
                      CAROL STREAM, IL 60197


                      DIRECT MAIL SOLUTIONS
                      4500 SARELLEN ROAD
                      RICHMOND, VA 23231


                      DOUG PETERSON
                      STATE CAPITOL
                      PO BOX 98920
                      LINCOLN, NE 68509


                      DVM INSURANCE AGENCY



                      DYNA TECHNOLOGY INTEGRATORS LL
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                      E & E EXHIBITS INC
                      1365 W AUTO DRIVE
                      TEMPE, AZ 85284


                      E GROUP INC - NON-FULFILLMENT
                      ATTN: COLIN EAGEN
                      11790 SUNRISE VALLEY DRV
                      SUITE T-100
                      RESTON, VA 20191


                      ED SNIFFEN
                      1031 W 4TH AVENUE SUITE 200
                      ANCHORAGE, AK 99501


                      ELEMENT 27 INC
                      5583 ROSSEVELT ST
                      WHITEHALL, PA 18052


                      ELLEN ROSENBLUM
                      JUSTICE BLDG
                      1162 COURT ST., NE
                      SALEM, OR 97301


                      Employees



                      EPLUS GROUP, INC.
                      13595 DULLES TECHNOLOGY DRIVE
                      HERNDON, VA 20171


                      ERIC S. SCHMITT
                      SUPREME CT BLDG
                      207 W HIGH STREET
                      JEFFERSON CITY, MO 65101


                      EXECUTIVE EAGLES ADV.
                      DBA PAS
                      1005 FREDERICK ROAD
                      CATONSVILLE, MD 21228
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                      Factiva
                      DOW JONES & CO
                      PO BOX 30994
                      NEW YORK, NY 10087


                      FAIRFAX WATER



                      FEDEX FREIGHT



                      FICHTNER, JOHN R



                      FLYNN ENTERPRISES INC
                      ALLEGRA PRINT & IMAGING
                      45668 TERMINAL DR
                      DULLES, VA 20166


                      FORSTER, RICHARD M



                      FOUR STAR PRINTING
                      43671 TRADE CENTER PL., STE 154
                      DULLES, VA 20166


                      GLOBAL NEW BEGININGS INC.
                      4042 W. 82ND COURT
                      MERRILLVILLE, IN 46410


                      GOLF PRESS ASSOCIATION
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                      GOOD PRINTERS INC
                      213 DRY RIVER ROAD
                      BRIDGEWATER, VA 22812


                      GOOD SPORTSMAN MARKETING, LLC
                      ATTN: PAUL BUTSKI
                      3385 ROY ORR BLVD
                      GRAND PRAIRIE, TX 75050


                      GOOGLE
                      1600 AMPHITHEATRE PARKWAY
                      MOUNTAIN VIEW, CA 94043


                      GORDON MACDONALD
                      33 CAPITOL STREET
                      CONCORD, NH 03301


                      GOULD PAPER CORPORATION
                      C/O WARREN CONNOR
                      99 PARK AVENUE
                      10TH FLOOR
                      NEW YORK, NY 10016


                      GRAINGER



                      GRANITE TELECOMMUNICATIONS LLC



                      GREEN HILLS MEDIA & COMMUNICAT
                      35 E HORIZON RIDGE
                      SUITE 110-199
                      HENDERSON, NV 89002


                      GUERNSEY OFFICE PROD
                      PO BOX 10846
                      CHANTILLY, VA 20153
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                      GURBIR GREWAL
                      RICHARD J. HUGHES JUSTICE COMPLEX
                      25 MARKET STREET
                      PO BOX 080
                      TRENTON, NJ 08625


                      Hartman & Winnicki
                      74 PASSAIC STREET
                      RIDGEWOOD, NJ 07450


                      HAUPTMAN HAM LLP
                      LOWE HAUPTMAN HAM & BERNER LLP
                      1700 DIAGONAL ROAD
                      SUITE 310
                      ALEXANDRIA, VA 22314


                      HAYES, BRIAN



                      HECTOR BALDERAS
                      PO DRAWER 1508
                      SANTA FE, NM 87504


                      HERBERT SLATERY
                      425 5TH AVENUE NORTH
                      NASHVILLE, TN 37243


                      Hodgkins and Associates
                      4747 PINNACLE DRIVE
                      BRADENTON, FL 34208


                      HUMAN KINETICS
                      ATTN: JENNIFER MULCAHEY
                      1607 N. MARKET STREET
                      P.O. BOX 5076
                      CHAMPAIGN, IL 61820


                      HWS CONSULTING, INC
                      103 CONGRESSIONAL DRIVE
                      STEVENSVILLE, MD 21666
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                      IDM PRODUCTIONS LLC
                      PO BOX 5506
                      WINTER PARK, FL 32793


                      IMAGE DIRECT
                      200 MONROE AVE
                      BUILDING 4
                      FREDERICK, MD 21701


                      Image Direct Group LLC
                      200 Monroe Avenue
                      Building 4
                      Frederick, MD 21701


                      IMAGE DIRECT GROUP LLC-NON POS
                      200 MONROE AVE
                      BUILDING 4
                      FREDERICK, MD 21701


                      INBANK
                      INBANK
                      PO BOX 1028
                      RATON, NM 87740


                      INFOCISION MANAGEMENT CORP
                      325 SPRINGSIDE DR
                      AKRON, OH 44333


                      Infocision Management Corp.
                      325 Springside Drive
                      Akron, OH 44333


                      INTERNAL REVENUE SERVICE (IRS)
                      1111 CONSTITUTION AVENUE NORTHWEST
                      WASHINGTON, D.C., DC 20224


                      IRON MOUNTAIN INTELLECTUAL PRO
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                      J JENKINS SONS CO INC
                      ATTN: SHIRLEY SPARAGANA
                      1801 WHITEHEAD RD
                      BALTIMORE, MD 21207


                      J&A MARKETING LLC
                      200 COMPASS CIRCLE
                      NORTH KINGSTOWN, RI 02852


                      JAMES REDDEN
                      209 W MECHANIC ST
                      ROCKTON, IL 61072


                      JASON RAVNSBORG
                      1302 EAST HIGHWAY 14
                      SUITE 1
                      PIERRE, SD 57501


                      JEFF LANDRY
                      PO BOX 94095
                      BATON ROUGE, LA 70804


                      JENNIFER L KREMPIN & ASSOCIATE



                      JOE HOLDMANN
                      PO BOX 743
                      NORTH BEND, OR 97459


                      JOHNSTON, JEFF



                      JOHNSTON, TJ
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                      JOSH KAUL
                      WISCONSIN DEPARTMENT OF JUSTICE
                      STATE CAPITOL, ROOME 114 EAST
                      PO BOX 7857
                      MADISON, WI 53707


                      JOSH SHAPIRO
                      PENNSYLVANIA OFFICE OF ATTORNEY GENERAL
                      16TH FLOOR
                      STRAWBERRY SQUARE
                      HARRISBURG, PA 17120


                      JOSH STEIN
                      DEPT OF JUSTICE
                      PO BOX 629
                      RALEIGH, NC 27602


                      KARL RACINE
                      400 6TH ST
                      NW
                      WASHINGTON, D.C., DC 20001


                      KATHY JENNINGS
                      CARVEL STATE OFFICE BUILDING
                      820 N. FRENCH ST
                      WILMINGTON, DE 19801


                      KEITH ELLISON
                      SUITE 102, STATE CAPITOL
                      74 DR. MARTIN LUTHER KING, JR. BLVD.
                      SAINT PAUL, MN 55155


                      KEN PAXTON
                      CAPITOL STATION
                      PO BOX 12548
                      AUSTIN, TX 78711


                      KINGPORT INDUSTRIES, LLC
                      ATTN: CLAUDIA CHISHOLM
                      1912 SHERMER RD.
                      NORTHBROOK, IL 60062


                      KIRKLAND &ELLIS
                      655 FIFTEENTH STREET, NW
                      WASHINGTON, DC 20005
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                      KOJAK GRAPHIC COMMUNICATIONS
                      ATTN: TONY CHIAVACCI
                      PO BOX 767
                      WESTMINSTER, MD 21158


                      KONIK & COMPANY INC
                      ATTN: MARIA ORTIZ
                      7535 N LINCOLN AVE
                      SKOKIE, IL 60076


                      KOUNT INC
                      917 S LUSK ST
                      SUITE 300
                      BOISE, ID 83706


                      KRASNE'S INC.
                      ATTN: JAMES WELLS
                      2222 COMMERICAL ST
                      SAN DIEGO, CA 92113


                      KRUEGER ASSOCIATES INC
                      105 COMMERCE DRIVE
                      ASTON, PA 19014


                      Krueger Associates, Inc.
                      105 Commerce Drive
                      Aston, PA 19014


                      KWAME RAOUL
                      JAMES R. THOMPSON CTR.
                      100 W. RANDOLPH ST.
                      CHICAGO, IL 60601


                      LAWRENCE WASDEN
                      700 W. JEFFERSON STREET
                      SUITE 210
                      PO BOX 83720
                      BOISE, ID 83720


                      LESLIE RUTLEDGE
                      323 CENTER ST SUITE 200
                      LITTLE ROCK, AR 72201
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                      LETITIA A JAMES
                      DEPT OF LAW
                      THE CAPITOL
                      2ND FLOOR
                      ALBANY, NY 12224


                      LYNN FITCH
                      DEPARTMENT OF JUSTICE
                      PO BOX 220
                      JACKSON, MS 39205


                      LYTLE SOULE & FELTY



                      MADE IN USA FRAMING LLC
                      250 CENTER CT
                      VENICE, FL 34285


                      MARK BRNOVICH
                      2005 N CENTRAL AVENUE
                      PHOENIX, AZ 85004


                      MARK HERRING
                      202 NORTH NINTH STREET
                      RICHMOND, VA 23219


                      MASTERPRINT
                      8401 TERMINAL ROAD
                      PO BOX 1467
                      NEWINGTON, VA 22122


                      MAURA HEALEY
                      1 ASHBURTON PLACE
                      BOSTON, MA 02108


                      MAXFIELD, CARL JAY
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                      MDI IMAGING & MAIL - NON-POSTA
                      ATTN: JAY HARTMAN/ANDY IHLE
                      21955 CASCADES PARKWAY
                      DULLES, VA 20166


                      Membership Advisors Fund Raising
                      11250 Waples Mill Road, Suite 310
                      Fairfax, VA 22030


                      MEMBERSHIP ADVISORS FUNDRAISIN
                      11250 WAPLES MILL RD
                      SUITE 310
                      FAIRFAX, VA 22030


                      MEMBERSHIP ADVISORS PUBLIC REL
                      11250 WAPLES MILL RD
                      SUITE 310
                      FAIRFAX, VA 22030


                      MEMBERSHIP MARKETING PARTNERS
                      11250 WAPLES MILL RD
                      FAIRFAX, VA 22030


                      Membership Marketing Partners LLC
                      11250 Waples Mill Road, Suite 310
                      Fairfax, VA 22030


                      MERCURY GROUP
                      1601 NW EXPRESSWAY
                      STE 1100
                      OKLAHOMA CITY, OK 73118


                      META MEDIA TRAINING INTL INC



                      MICHEL & ASSOCIATES ESTIMATED CONTESTED
                      180 E OCEAN BOULEVARD
                      SUITE 200
                      LONG BEACH, CA 90802
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                      MID-ATLANTIC PRINTERS LIMITED



                      MIKE HUNTER
                      313 NE 21ST STREET
                      OKLAHOMA CITY, OK 73105


                      MILLER'S SUPPLIES AT WORK INC
                      MILLER'S OFFICE PRODUCTS INC.
                      PO BOX 1335
                      NEWINGTON, VA 22122


                      MONTANA SILVERSMITHS INC
                      ATTN: JAMIE ROBB
                      1 STERLING LANE
                      COLUMBUS, MT 59019


                      MORGAN STANLEY



                      MY INC.
                      AREA SAFE & LOCK
                      3301 MT. VERNON AVENUE
                      ALEXANDRIA, VA 22305


                      NATIONAL TARGET COMPANY INC
                      3958-D DARTMOUTH COURT
                      FREDERICK, MD 21703


                      NAVISTAR DIRECT MARKETING LLC
                      NORTH LAWRENCE FISH & GAME CLUB INC
                      15325 LAWMONT ST
                      NORTH LAWRENCE, OH 44666


                      NESTLE WATERS NORTH AMERICA IN
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                      NEXTOPIA SOFTWARE CORPORATION
                      260 KING ST EAST
                      SUITE A200
                      TORONTO, ON M5A4L5


                      NIMBUS NOW LLC



                      NUCOM, LTD
                      5612 INTERNATION PARKWAY
                      NEW HOPE, MN 55428


                      NXTBOOK MEDIA LLC



                      O'NEIL, CANNON, HOLLMAN, DEJON
                      111 E WISCONSIN AVE
                      SUITE 1400
                      MILWAUKEE, WI 53202


                      OCELOT18 LLC
                      1035 S. FEDERAL HIGHWAY UNIT 414
                      DELRAY BEACH, FL 33483


                      OCONNOR, KEVIN M



                      OFF DUTY MANAGEMENT INC



                      OREGON STATE UNIVERSITY
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                      OUTDOOR CHANNEL
                      43445 BUSINESS PARK DR #103
                      TEMECULA, CA 92590


                      PAC Outsourcing LLC
                      5845 RICHMOND HIGHWAY
                      STE 820
                      ALEXANDRIA, VA 22303


                      PADILLA, MARIA PORTIA C.
                      EMPLOYEE


                      PATRICK MORRISEY
                      STATE CAPITOL
                      1900 KANAWHA BLVD., E.
                      CHARLESTON, WV 25305


                      PAXTON RECORD RETENTION INC
                      5280 PORT ROYAL ROAD
                      SPRINGFIELD, VA 22151


                      PC TEK
                      ATTN: GEORGE IDZOREK
                      4168 ALABAMA AVE APT D
                      LOS ALAMOS, NM 87544


                      PEK, SOLINY



                      PENN HARRIS GUN CLUB
                      PO BOX 7557
                      HARRISBURG, PA 17113


                      PENSION BENEFIT GUARANTY CORPORATION (PB
                      1200 K STREET
                      NW
                      WASHINGTON, D.C., DC 20005
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                      PERFECT FIT LLC
                      LEVESQUE, MICHAEL C
                      PO BOX 439
                      39 STETSON RD
                      CORINNA, ME 04928


                      PETER NERONHA
                      150 S. MAIN STREET
                      PROVIDENCE, RI 02903


                      PG CALC INCORPORATED



                      PHIL WEISER
                      RALPH L. CARR COLORADO JUDICIAL CENTER
                      1300 BROADWAY
                      10TH FLOOR
                      DENVER, CO 80203


                      PIMA COUNTY



                      PLANTWORKS INC



                      PNC BANK
                      TREAS MGMT CLIENT CARE
                      ONE FINANCIAL PARKWAY
                      LOCATOR Z1-YB42-03-1
                      KALAMAZOO, MI 49009


                      POTOMAC PURE WATER, INC.
                      7901-S BEECHCRAFT AVE
                      GAITHERSBURG, MD 20879


                      POWER AISLE, INC.
                      HYSKORE
                      ATTN: TED WERNER
                      588 CLAUVERWIE RD
                      MIDDLEBURG, NY 12122
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                      PREMIER PINS
                      DIVISION OF K&R
                      ATTN: JEFF DECENZO
                      14110-D SULLYFIELD CIRCLE
                      CHANTILLY, VA 20151


                      PROFILE RESEARCH INC
                      PO BOX 303
                      ROWLEY, MA 01969


                      PROLIST
                      PROFESSIONAL DATA SERVICES
                      4510 BUCKEYSTOWN PIKE
                      SUITE M
                      FREDERICK, MD 21703


                      PS PRODUCTS, INC.
                      ATTN: BILLY PENNINGTON
                      3120 JOSHUA ST
                      LITTLE ROCK, AR 72204


                      PYRAMEX SAFETY PRODUCTS, LLC



                      QUADGRAPHICS
                      N63W23075 HWY 74
                      SUSSEX, WI 53089


                      R & D STAMP & SIGN COMPANY



                      R.F.S.J. INC
                      ATTN: MARIANNE BAILEY
                      105 QUARRY STREET
                      MT. PLEASANT, PA 15666


                      RACHEL SCREEN PRINTING
                      PAIGE BROTZMAN
                      40 CLAREMONT DR
                      PORTSMOUTH, VA 23701
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                      RINGS MANUFACTURING
                      99 E. DRIVE
                      MELBORNE, FL 32904


                      ROBERT F SHARPE & CO INC
                      SHARPE GROUP
                      6410 POPLAR AVENUE
                      SUITE 700
                      MEMPHIS, TN 38119


                      RR DONNELLEY
                      7810 SOLUTION CENTER
                      CHICAGO, IL 60677


                      RR DONNELLEY
                      MOORE WALLACE
                      3075 HIGHLAND PKWY STE 400
                      DOWNERS GROVE, IL 60515


                      RZUCIDIO, DALE
                      5301 HAUSERMAN RD
                      PARMA, OH 44130


                      SALESFORCE.COM INC
                      ONE MARK ST- THE LANDMARK
                      SUITE 300
                      SAN FRANCISCO, CA 94105


                      Salesforce.Com, Inc.
                      One Mark St - The Landmark
                      Suite 300
                      San Francisco, CA 94105


                      SEAN REYES
                      STATE CAPITOL
                      RM 236
                      SALT LAKE CITY, UT 84114


                      SIGLER, JOHN
                      11 WATERWHEEL CIRCLE
                      DOVER, DE 19901
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                      SLIPPERY ROCK UNIVERSITY



                      SMISC HOLDING INC
                      5239 Z-MAX BLVD
                      HARRISBURG, NC 28075


                      SOBRAN INC



                      SPECTER SECURITY GROUP
                      7371 ATLAS WALK WAY #177
                      GAINESVILLE, VA 20155


                      SPEEDWAY MOTORSPORTS INC
                      PO BOX 600
                      CONCORD, NC 28026


                      Speedway Motorsports Inc.
                      P.O. Box 600
                      Concord, NC 28026


                      STAPLES
                      DEPT. 11-0001245604
                      PO BOX 9001036
                      LOUISVILLE, KY 40290


                      STEVE MARSHALL
                      501 WASHINGTON AVE PO BOX 300152
                      MONTGOMERY, AL 36130


                      Stone & Johnson
                      SUITE 1800
                      111 WEST WASHINGTON STREET
                      CHICAGO, IL 60602
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                      STONE RIVER GEAR, LLC
                      PO BOX 67
                      BETHEL, CT 06801


                      STUBE, GREG



                      SUNDOG PRODUCTIONS
                      ATTN: JOHN SAGUE
                      3850 JERMANTOWN RD
                      FAIRFAX, VA 22030


                      SURESHIP, INC.
                      4901 FORBES BLVD
                      LANHAM, MD 20706


                      T. J. DONOVAN
                      109 STATE ST
                      MONTPELIER, VT 05609


                      TBK STRATEGIES LLC
                      PO BOX 239
                      POCONO PINES, PA 18350


                      TC&B CORPORATE WEARABLES INC



                      THE GOETZ PRINTING COMPANY
                      7939 ANGUS COURT
                      SPRINGFIELD, VA 22153


                      THE HIGHLAND MINT
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                      THE NRA FOUNDATION, INC.
                      11250 WAPLES MILL ROAD
                      FAIRFAX, VA 22030


                      THE ROSS GROUP INC
                      2730 INDIAN RIPPLE ROAD
                      DAYTON, OH 45440


                      TLR SYSTEMS LLC
                      1062 CANNIE BAKER ROAD
                      MOUNTAIN, AR 72651


                      TMA DIRECT, INC.
                      TMA LIST BROKERAGE & MGMT
                      12021 SUNSET HILLS ROAD
                      SUITE 350
                      RESTON, VA 20190


                      TODD ROKITA
                      INDIANA GOVERNMENT CENTER SOUTH - 5TH FL
                      302 WEST WASHINGTON STREET
                      INDIANAPOLIS, IN 46204


                      TOM GIBBONS & ASSOCIATES LLC



                      TOM MILLER
                      HOOVER STATE OFFICE BLDG
                      1305 E. WALNUT
                      DES MOINES, IA 50319


                      TRIPLE A LOGISTIC SERVICE INC



                      TROMPETER, CARL W
                      85 CUTLER RD
                      GRENWICH, CT 06831
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                      TUFF PRODUCTS BRAND LLC



                      TYCA CORPORATION
                      ATTN: FRANKLIN HARDY
                      470 MAIN ST.
                      CLINTON, MA 01510


                      U.S. BANK EQUIPMENT FINANCE
                      1310 MADRID STREET
                      MARSHALL, MN 56258


                      U.S. BANK EQUIPMENT FINANCE, A DIVISION
                      1310 MADRID STREET
                      MARSHALL, MN 56258


                      UNDER WILD SKIES
                      201 N. UNION STREET
                      SUITE 510
                      ALEXANDRIA, VA 22314


                      UNITED PARCEL SERVICE
                      SHIPPER # 295907
                      P O BOX 4980
                      HAGERSTOWN, MD 21747


                      UNITED PARCEL SERVICE #3YX256
                      PO BOX 7247-0244
                      PHILADELPHIA, PA 19170


                      United Parcel Services
                      P.O. Box 7247-0244
                      Philadelphia, PA 19170


                      UNITED RENTALS (NORTH AMERICA), INC.
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                      UNIVERSAL PROTECTIONS SERVICE
                      PO BOX 828854
                      PHILADELPHIA, PA 19182


                      UNIVERSITY OF HAWAII



                      UWHARRIE APPAREL COMPANY, LLC



                      V.H. BLACKINTON & CO INC
                      ATTN: ELIZABETH DEWEDOFF
                      221 JOHN DIETSCH BLVD
                      ATTLEBORO FALLS, MA 02763


                      Valtim Incorporated
                      P. O. Box 114
                      Forest, VA 24551


                      VALTIM INCORPORATED - NON-POST
                      PO BOX 114
                      FOREST, VA 24551


                      VANTAGE CUSTOM CLASSICS INC



                      VAQUERO CANYON SPECIALTY LLC
                      20714 GOLDEN RIDGE DRIVE
                      ASHBURN, VA 20147


                      VERIZON #905908594 51Y 703-243
                      PO BOX 660720
                      DALLAS, TX 75266
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                      VERIZON #U0211171



                      VERIZON WIRELESS #418449-00043
                      PO BOX 25505
                      LEHIGH VALLEY, PA 18002


                      VerizonWireless
                      PO BOX 630062
                      DALLAS, TX 75263


                      VINTAGE EDITIONS INC



                      WARRIORS AFIELD LEGACY FOUNDAT



                      WASTE MANAGEMENT OF VIRGINIA I



                      WAYNE LAPIERRE EXPENSE REPORTS RESERVE



                      WAYNE STENEHJEM
                      STATE CAPITOL
                      600 E. BOULEVARD AVE
                      BISMARCK, ND 58505


                      WEB BENEFITS DESIGN
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                      WELDY, KATHY



                      WELLS FARGO
                      WELLS FARGO BANK, N.A. (182)
                      PO BOX 63020
                      SAN FRANCISCO, CA 94163


                      WELLS FARGO BANK, NATIONAL ASSOCIATION
                      1753 PINNACLE DRIVE
                      3RD FLOOR
                      MCLEAN, VA 22101


                      Wells Fargo Commercial Credit Card



                      WEST POINT OF SALE LLC



                      WEST PUBLISHING CORPORATION
                      WEST GROUP
                      P O BOX 6292
                      CAROL STREAM, IL 60197


                      Westfall Law LLC
                      1400 16TH ST MALL
                      #400
                      DENVER, CO 80202


                      Westlaw/Thomson Reuters
                      PO BOX 6929
                      CAROL STREAM, IL 60197


                      WILLIAM TONG
                      165 CAPITOL AVENUE
                      HARTFORD, CT 06106
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                      WILLING, DENNIS L.



                      WILSON, JAMES TAYLOR
                      5024 TED STREET
                      ALPINE, TX 79830


                      WIZZ SYSTEMS LLC
                      8814 VETERANS MEMORIAL BLVD
                      STE 3-124
                      METAIRIE, LA 70003


                      WS LINDSAY PAINT & WALLCOVERIN



                      XAVIER BECERRA
                      1300 I ST SUITE 1740
                      SACRAMENTO, CA 95814


                      ZAYO GROUP HOLDINGS INC
